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                     UNITED STATES BANKRUPTCY COURT
                    DISTRICT OF CONNECTICUT (HARTFORD)

   IN RE:

   GORDON ALEXANDER CLARK                                     BK No.: 23-20642-JJT
                                                              Chapter 13




   SANTANDER BANK, N.A., MOVANT

   vs.

   GORDON ALEXANDER CLARK

   DEBTOR(S)

   ROBERTA NAPOLITANO, Esq.
   TRUSTEE


   RESPONDENTS

                   MOTION FOR RELIEF FROM AUTOMATIC STAY


     Santander Bank, N.A. together with its successors and assigns (“Movant”), your

  moving party in the within Motion, respectfully represents as follows:

     1. Movant is an entity with a mailing address of 601 Penn Street, Reading,

  Pennsylvania 19601.

     2. The Debtor, GORDON ALEXANDER CLARK is an individual who resides at 70

  ELM STREET, ENFIELD, CT 06082.

     3. Lillian J. Clark is the obligor pursuant to promissory note (the “Note”) dated March

  21, 2008, in the original principal amount of $100,000.00, a copy of which is annexed as

  Exhibit “A”.




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     4. To secure the Note, Lillian J. Clark executed in favor of, and delivered a mortgage

  to Sovereign Bank (the “Mortgage”, together with the Note and any other loan documents

  executed in connection therewith, the “Loan Documents”) dated March 21, 2008, securing

  the Note and encumbering the property located at 70 Elm Street, Enfield, CT 06082 (the

  “Property”). A copy of the Mortgage is annexed as Exhibit “B” and incorporated herein

  by reference.

     5. There is no other collateral to secure the Note.

     6. Movant is the current holder of the Loan Documents by virtue of merger

  documents, a copy of which is annexed as Exhibit “C”.

     7. A foreclosure action was commenced in the Connecticut Superior Court by

  Santander on November 22, 2019, bearing docket number HHD-CV19-6120472-S. A

  judgment of foreclosure by sale entered on May 19, 2023.

     8. Upon information and belief, Lillian J. Clark is deceased and the Debtor is the

  executor and sole beneficiary of her estate.

     9. On August 15, 2023, the Debtor, Gordon Alexander Clark, filed a petition under

  Chapter 13 of the United States Bankruptcy Code in the United States Bankruptcy Court

  for the District of Connecticut.

     10. As of September 13, 2023, the total amount due and owing pursuant to the Loan

  Documents was $173,697.22 in principal, accrued interest, late charges, miscellaneous

  fees, and attorneys’ fee and costs, plus any additional interest, attorneys’ fees, costs or

  expenses.

     11. There is an estimated pre-petition arrearage in the amount of $108,854.56 due and

  owing under the Loan Documents.




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     12. As of September 13, 2023, there is a post-petition payment arrearage owing

  pursuant to the Loan Documents in the amount of $868.86, consisting of payment due from

  September 1, 2023. This amount is exclusive of attorneys’ fees, costs, and expenses in

  connection with this Motion.

     13. The regular monthly payment due under the Loan Documents at this time is

  approximately $868.86.

     14. The total amount of encumbrances on the Property is approximately $494,555.20.

     15. The Debtor's Schedules list a fair market value for the Property of $240,000.00.

     16. Movant seeks relief from the automatic stay pursuant to 11 U.S.C. §362(d)(1) for

  cause on the basis that the Debtor is in default of their payment obligations resulting in an

  arrearage owing under the Loan Documents.

     17. Further, the to extent there a exists a co-debtor stay pursuant to 11 U.S.C. §1301(a)

  as to Lillian J. Clark, Movant seeks that said co-debtor stay be modified on the basis that

  (a) upon information and belief, the co-debtor received consideration for the claim held by

  the Creditor as the co-debtor was an owner of the Property; (b) the plan filed by the Debtor

  proposes not to pay the claim held by the Creditor; and (c) the Creditor’s interest would be

  irreparably harmed by continuation of such stay.



         WHEREFORE, Movant requests that the Court:

         (1) grant relief from the section 362 automatic stay, the section 1301(a) co-debtor

  stay and the stay imposed by Bankruptcy Rule of Procedure 4001(a)(3) for the purpose of

  exercising its various non-bankruptcy rights and remedies including, without limitation:

         a. taking possession of the Property, obtaining a deed-in-lieu of foreclosure and/or

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  foreclosing the Mortgage

          b. taking such action as may be necessary to evict the Debtor or any occupant from

  the Property.

         (2) that the Trustee cease making any further distributions to the Movant; and

         (3) order such other and further relief as may be just and proper.

                                              Santander Bank, N.A.

                                              By Its Attorney,

                                              /s/Sara M. Buchanan
                                              Lawson Williams, III, CT Bar No. 30907
                                              Jeffrey J. Hardiman, CT Bar No. 24355
                                              Sara M. Buchanan, CT Bar No. 30340
                                              Attorney for Creditor
                                              BROCK & SCOTT, PLLC
                                              3825 Forrestgate Drive
                                              Winston Salem, NC 27103
                                              Telephone: (844) 856-6646
                                              Facsimile: (704) 369-0760
                                              NEWENGLANDBKR@brockandscott.com




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                       UNITED STATES BANKRUPTCY COURT
                           DISTRICT OF CONNECTICUT

   IN RE:

   GORDON ALEXANDER CLARK                                        BK No.: 23-20642-JJT
                                                                 Chapter 13




   SANTANDER BANK, N.A., MOVANT
                                                                 DOC. I.D. NO. ____
   vs.

   GORDON ALEXANDER CLARK

   DEBTOR(S)

   ROBERTA NAPOLITANO, Esq.
   TRUSTEE


   RESPONDENTS

                         PROPOSED ORDER GRANTING
                 MOTION FOR RELIEF FROM THE AUTOMATIC STAY

         Following notice and a hearing, see Bankruptcy Code Section 102(1)(A), on

  Santander Bank, N.A. (hereafter, the “Movant”) Motion for Relief from Stay (hereafter,

  the “Motion”), Doc. I. D. No. _____,

         IT IS HEREBY ORDERED that the Motion is GRANTED – the automatic stay

  of 11 U.S.C. § 362(a) is hereby modified pursuant to 11 U.S.C. § 362(d) to permit the

  Movant, and/or its successors and assigns, to commence, continue and prosecute to

  judgment a foreclosure action and otherwise exercise its rights, if any, with respect to real

  property known as      70 Elm Street, Enfield, Connecticut 06082 in accordance with

  applicable state law, and

         IT IS FURTHER ORDERED that the Trustee is directed to cease making any


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  further distributions to the Movant, and

           IT IS FURTHER ORDERED that ten-day stay afforded by Fed. R. Bankr. P.

  4001(a)(3) is not applicable and the Movant may immediately enforce and implement this

  Order.




  _________________________

  United States Bankruptcy Judge




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                      UNITED STATES BANKRUPTCY COURT
                    DISTRICT OF CONNECTICUT (HARTFORD)

   IN RE:

   GORDON ALEXANDER CLARK                                     BK No.: 23-20642-JJT
                                                              Chapter 13




   SANTANDER BANK, N.A., MOVANT

   vs.

   GORDON ALEXANDER CLARK

   DEBTOR(S)

   ROBERTA NAPOLITANO, Esq.
   TRUSTEE


   RESPONDENTS

                              CERTIFICATE OF SERVICE

          I, the undersigned, hereby certify that a true and exact copy of the foregoing
  Motion for Relief from Automatic Stay, Proposed Order, Notice of Contested Matter
  Response Date, Supplemental Declaration in Support of Motion for Relief from
  Automatic Stay, Affidavit Regarding Standing, and Relief from Stay Worksheet - Real
  Estate has been electronically served or mailed, postage prepaid on this day to the
  following:

  GORDON ALEXANDER CLARK
  70 ELM STREET
  ENFIELD, CT 06082

  Roberta Napolitano, Bankruptcy Trustee
  10 Columbus Boulevard
  Ste 6th Floor
  Hartford, CT 06106
  notices@ch13rn.com




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  Office of the U.S. Trustee, US Trustee
  Giaimo Federal Building
  150 Court Street, Room 302
  New Haven, CT 06510
  USTPRegion02.NH.ECF@USDOJ.GOV

  October 17, 2023
                                            /s/Sara M. Buchanan
                                            Lawson Williams, III, CT Bar No. 30907
                                            Jeffrey J. Hardiman, CT Bar No. 24355
                                            Sara M. Buchanan, CT Bar No. 30340
                                            Attorney for Creditor
                                            BROCK & SCOTT, PLLC
                                            3825 Forrestgate Drive
                                            Winston Salem, NC 27103
                                            Telephone: (844) 856-6646
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                     UNITED STATES BANKRUPTCY COURT
                    DISTRICT OF CONNECTICUT (HARTFORD)

   IN RE:

   GORDON ALEXANDER CLARK                                     BK No.: 23-20642-JJT
                                                              Chapter 13




   SANTANDER BANK, N.A., MOVANT

   vs.

   GORDON ALEXANDER CLARK

   DEBTOR(S)

   ROBERTA NAPOLITANO, Esq.
   TRUSTEE


   RESPONDENTS


                NOTICE OF CONTESTED MATTER RESPONSE DATE

  Santander Bank, N.A. (the "Movant") has filed a Motion for Relief from Automatic Stay,

  (the "Contested Matter") with the U.S. Bankruptcy Court. Notice is hereby given that

  any response to the Contested Matter must be filed with the Court no later than October

  31, 2023 in accordance with Federal Rules of Bankruptcy Procedure 2002(a) and 9014.*

  In the absence of a timely filed response, the proposed order in the Contested Matter

  may enter without further notice and hearing, see, 11 U.S. C. § 102(1).




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  *Pursuant to Federal Rule of Bankruptcy Procedure 9006(f), if service is made by mail,
  three days are added after the response date set in this notice.


  Dated: October 17, 2023                    Santander Bank, N.A.
                                             By Its Attorney,

                                             /s/Sara M. Buchanan
                                             Lawson Williams, III, CT Bar No. 30907
                                             Jeffrey J. Hardiman, CT Bar No. 24355
                                             Sara M. Buchanan, CT Bar No. 30340
                                             Attorney for Creditor
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   EXHIBIT B
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  Waypoint Bank acquired First Federal Savings and Loan Association ofHarrisburg in April 1996.
  Waypoint Bank acquired T-~erit~ge Federal Savings and ~,oan Association in 7tu~e 1991.
  Waypoint Bank acquired Carlisle Building and T,oan Association in Tanuary 1488.
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  Waypoint Bank acquired Conestoga Savings and Loan Association in August 19$2.
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 Sandwich Cooperative Bank acquired Wareham Cooperative dank in May 1982.
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 Independence Community Bank acquired SY Bank &Trust in l~pri12a04.
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 Subject:                Merger Related.Name Changes

  Acquisitions and Ynergers listed c}u-analogically:
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  Fleet National Bank(a.k.a. Fleet Bank} ar~quired Cazm~ctict~t Bank &Trust in January 1991.
  Fleet l Norstar ~iu~a~tcial Group (a.k.a. Feet Bank)acquire Bell k'ivaucial Services in Jtme ~99I.
  National Westz~uizlster Baaac acc~uized First Jersey National $ank in December 1991.
  National Westminster Baulc acquired Fort k`uudSn~, Ix►c. o~ dart Jefferson, NY in.November 1992.
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  Coxua~c~cut National Banl~ changed ids name to Shawmut Bas~Ic i~n J~anruary I493.
  ~`leet Bank ar,,,c~uized Heritage Bank in Ta~uary 1993.
 Na~ionai Wesf~aster Bank acquized General jersey Bank &Trust in September 1994.
  Sbawbaut k3az~Xc acynired New Dartmouth Bank (successor to First Federal Bank and.New Hampshire Savings Bank
  SouS.b.) i~ January 1995.
 Fleet Bank acquired 5hawmut Bank in December 1995.
 Meet Bank acquiredNational Westmins~ Bank in May 1996.
 Bank Boston, N.A. {formerly known as First National Bank of Boston.} acquired Bay Bank in May 1997.
  Sovexeign Bank acquired the Fleet Bank Antamati~ve Financial bivision an September 1997.
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                 _    ~F~RATA BUTY,DIt~TG ANJ7 LC7AN .A,5S4CIA.'I'ION
                       WEST SHC)RESAV7NG~ ~D L4AI*T AS~OCIA'I'ION
                      ~'~J:CV~"ASS 73AN.K FOR SAi~NG
                      BAY STATE ~EDE~.AL SAVIl~'Gr5 BANK
                 r    UNI4~'~EDER.~,~L S~.VINGS BANK
                      BROC)KLINE ~~DERAI,SA~LNGS AN.17~ LOAN ASSOCIAT.ZaN
                      SANDWICH CD-C}BER~iTI~'E BANS
                      PLYMtJT~f'T~T ~~DE1~1L SAVJI~GS A~SQCIATIaN
                      WAREHA.M CO-t?PERATI'VE BAND
                      I+~A~.tTI~A.'.S VTf~(EY~iRD NATItJN.~sL BANK
                 m    N.EW ~~DFCIR.D ~FPVE CANTS SAVINGS ~3ANK
                      ~1ANTtJC~T BAS
                      C3LT? EOLON`Y'MURTCAGE CflRF.
                     ~1NG'~'QN SAVV~GS BANS
                      MASSACHUSETTS CO-C~PERA,T~VE BANK
                      HULL ~C0~4~'ERAT~"V'E BAS.
                     .I`IIt~T ESSEX Er~NK
                 -   ~EL~.M.BANK C-~ND TI:~UST CO.
                      FIRST ESSBX SAVINGS BANK QP I~1EW I~AMP'Sl~7RE
                      BROAT~WA.Y SA'VIA1G~ BAI~II~
                      ES~F~ ~R.flA.UW~."Y Sr~~l':C~1'GS B.AT1K
                      FJCRST ESSE:~ BANCt?RP 0~ NH
                      F+DR.T`LT.NE CrUA~t:ANtf~ SAV]NGS BANK
                     FII~.~~'E~~E~ ~,~~,FS~
                -     MAIN ST~tE~T BA.NI~
                     BS S ~OL'I~'Y B.AN'K.
                -~   ~ERTTAt~E NA'I'~QNAL BANK
                n    SCT-~UYLKILL HA.~EN TRL7ST
                      NIlNERS NATIL?I~AL BANS O~ ~HENANDOAH
                -    FTRST NA:'T7QNAL BANK Q~ TAMA.Q~fTA

                  TRENTQI~T S.A.V~NGS ~ANI~,FSB
                  BT.T~.T:,INGTC}N CUUNTY'BANK,
                  ~AR'T°~RET'FED~1tAL ~SAVINCrS BANK
                w AI3~.~tAL-BTJ'II,D.ERS SAVIN'~S & LQAN ASSOC.
                  ~IR.~T FFUER.t~.L SAVIIwTGS & L4.~.N ASS4C. Q~
                  N.C~I~TT~Cx014~ER'~ CO~TiVTY
                  1V.~t~CJ~JT 1 SECT.TR~'~C~ S,~"VIi~IGS BAi~t~
                  1~IDTOWi~T SA.VINCrS &.LOr~~i AS~t~C,
                  F~LST FED         .SA`V'INCxS & L~A1~T A~St?C.
                  HART(7iN SAV~NCrS & ~C7AN ASS~C.
                  RIVER EDGE St~i~IN'Cr5 & LQ.~1I*I' AAuSOC.
                - N~A~.H~V~'AH ~AVI~(C~S ~ Lt~A~ AS~~'1C.
                N LA~TtCN'CE BROOT~ SAt+'INGS & L4AT~ .ASSC►C.
                  CAPITAI.-ST. GLt~RCxE SA~lI~rCr~ & Lf)A~I~T.4SSOC.
                  STAGY SAVINGS & L4t~N A.S~OC.
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                      cc►-o.~E~~rzvE s~vrnr~s ~ ~.oArr ~ssc~c. o~ ~~r~~~r
                      caurr~r~
                   BURLING'~ON SAVZI~TGS .B~1V~~
                   GARNEGIE BA.~N~, NA
                   ~I~tST Ht3ME SA'V1NGS BAI~tK, ~'SB
                 - ~J~iZ'T~ EAGLE ~'EDER.AL SA.VII~TGS BANK
                   FIDELTI'Y MU`Z'CTAL SAVI~VG~ & LtJAN ASSOC.
                   ~UF.ETY BUSLDING ,& LOAN A~StJC.
                   YQi2KSHTP SC,}UARE SAVINGS & LUA.~' ASSOC.
                   1VIAINLINE B.A►1'~t~
                   NiA1N LINE ~'Er]ERAL S.AV~tGS BAl*T.~
                   Pkf~LADEL~'HIA MORTGAGE ~ORF,
                   CC}1VIMC~~i~W'EALT~T STATE B.AI~K
                   SUBI.7I~ATT FEUERA~L SAVI~tGS BANK
                   ME~}XA FEDERAL S.A'V~TC7S'& LUAN ASSC~C.

                      'WYCDMI~SIl'~'Cx SUBURBAl~i BL3'LLDIN'Cr .1'~ND LOAN
                      ASSOCIATION
                 A    'WYUMISSTNGr BUILDING SID LEAN ASSOCTA'I"It~~+T
                      WXOMISST~{a BULI.I~~iNG AN.i~ SAVIlVGS .~SO~IA'I'SON
                 a    WY't7NlISSmtG ~~DE.RAI, ~.AVTNCrS AN.C> Lt~AN AS~C?CZA.TI01`~1'
                 A    ~'ROV~DEN'I' FEDERAL SAVTI~TG~ ~~NY3 L4.~,,I~T ASSt~CIA.TIOI'~1
                      WY'OMI:SST~TG P]~.OV~'DEl~TT ~'EDER.I~L SAVrN'GS AN.D LOAN
                      A~SQ~IATI~L}N
                 s    NE~1V HOI'~E Sr~VII~]'GS AN:D Lt3AN .AS.sOCLAT'IpN
                     K.UTZT~'V~N BUrI.UTNG ,AlYD Lt)AN ASStJCTATION
                      t3'NT~N BUILD~NCx AND LOAN ASS~?CIA.T~UN'
                      ~NI3CJSTLA.L BUILDING AND Lt7A~T ASSOC~,A'I~C}I~ OF
                     L.AN~AST~R
                     HOI~+SE BUI~..DIl`~IG .AATT3 L(7A1~T A~SUCIA'STON +~~ LAI*~CAST~fi.
                     i~IFWHQ        ~A~INGS AND ~,~7AN ASS{7C~A,TIaN
                     ~I~ST FEDERAL SA.VIi~Tf x5 A1rI~.D L~A~T ASSOCIATION C1F
                     LA.i~CAS~'~R
                     NEW HQLLAND BUILD~TG ~N~1LC}~I ASSCICIATIOZ'~t
                     MY. JC~'Y ~UTLDI~1'G           .LOA`~T ASS(~C~A.TTUN
                      W~'O~IIS~INGNEW HC~N~ FEDERAL BUILDII~t+C~ AND LOAN
                      A.SS~CZA.Tit~N
                     MAN~.'~'AWNY BITLL.DZNG ANA LEAN t3.S~OCIAT~ON
                     FIRST FE~E~AL SAVIN'C~5 AND ~.,OA~ C?F ALLBNT4 T
                     ~VE~ HC3~1E ~`EDERAL SA~T~S ~Nt) Lt~AN' ASS~C~tI'TIUN
                     PENN SA'VTNGS B~~NK, ~~B
                w    ~AT~T1~E~iS S1~VIAfi'LrS
                           1'ERT~ AMT~t~Y' SAV~TCS ~+i'S'T'ITUTI~N
                     Bfl+C3N~'4~I MOUNTAIN SAVTAtC'.r51~NS7 Lt~AN A~SaCIATIUN
                     t3~~.A~T ~ND~PENIJENT BA'~Tf~
                x    FiRS'I' STATE SAVIl'V'C.xS AND LOAN ASSOCIATI4I*1'
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                    ~'Il~.ST DE't~'.CT`$ANK.
                 R  FIRST DEWITT SAV.[N~xS B.~.NI~.
                    FIRST DELI"CT SAVz.~TGS AND L~A:N ASSOCTAI'~ON
                   DE~S'~`I` ~A.V~NGS AND L(J.AN ,r~,SSOCTAT~fJN
                    CI-BARTER.FEDERAL SAVII~GS BANK
                    C~'ARTER FEDERAL SAVINGS.~'D`LaAN A.SSOC~TIC}N
                    CEDAR G-~flVE SA'VI~G9 ANDS T~C}AN A.SSOCTA.TTON
                 - WE'ST 7ER~SEY ~OMMUNiTY'BANK.
                    CQLf~~ifIA~.-STATE BANK
                    Iv1TJTUlhT. AID SAVINGS A~tD LOA~.V ASSC)CIA.TYON
                 w HA,R:MONT.t~. SAVI~I'GS B.ANI~
                   3~RSEY WHORE S~S`V'33~1GS t~'~lU LOAN ASSOCIATIQN
                   K~~'STUNE SAGS.ANTS L~~1.N' ASSC}CIA'~'ION
                    SE.A.SIDE SAVII~TGS A,I~'D LOA`I~T A.S~tJ~CIATIQN
                   SH2~'~C}TTfJM SA'VT~7CrS.AND LOAN A"~~t~CIA.TION
                   [~ .TAt~':I~D ~,.~.'VIN'GS AND Lta.AN A~.SSOC~ATSON
                   NASSt.TA SAVR~TGrS ~NS7 LOAN .AS~QCIA.TI~N'
                   ~'A~R.~7LE~'SAVINGS AST[? L4fiaN A~SOCIAT~QN'
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                      £:}£~Yc:e ca~f Th~i~t ~~~~~c~~~~iit~
                      x.~tc~1rtt~t'tl~ttte cif ~~tc' ~'t-e.~:~?tt't'

                       il'~~(..i;'it~t`.ci, iV.4~i~~.. ~~'.I~~'sttlr~i'ceri~ ~~.~.. __r;'~.' ~ 4:,' ... `~:~1i_~iis..~




                        ~~R~~~: ~Ttt~~}7~Ilf i~~~ ~El1'iitTtlultt~' ~~.CI~C
                                                          I3T[~tII~}`tt. New ~t3

                     ~,Rc~~Iyn ~.'~e~e~,~az~~ ~r~~ry,t~#`~ic~ ~rf 1° ft ~u visit~n,
       h~ret~yr ~ fy, carte tv t~ r~cv~ ci~'t~e Qf~ir,~ oaffi1~ri~ ~ er~ri~~an, ~partxz~ez~t ~~



      ~r sr} r~ t i          ~          ~~v~r~ of~h~ ~'ta~t~ c~~ ~ Yam.tea                                      .sect t lh~           off'a State


                       ~, ~ f: 1Y ~L'~3             ~~ ~" ice,~1'25~~   CIIG`L ~:t7f2'fl~~€tl`i$I~d ~~411~,
      ~t'E~~~+;~~Tl~ T~s~`~W ~'i~y.~'t`~,'~ b~`tC~'i~ tl2t    ~`~1    ~    , Vi~~+     t~# ~~i1TtSvIY~23I+'r~,
           ~a~rereigr~ ~~,~' ~n~iss sag.P~ ~~~~ v                                                    ~h~ Baru"s it € a              sp ~d
                         . 5~~~~. .~_                               y~~~xt ,Pa~yi~a~i~,i~ a                                         ~ c~artere~i


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                                                                                               k ~~                            ~r
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                                                                         each depositor insured to at lest ~25(},OtiCF per in~ur~d ~~nk

       ~ r~~ i~~ F~c~                                              ~# r to                           ~ F~~a ~ ~[                                                                                               ~~ic~~~                               c~         ~i~art
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                   Ov~rvi~w                                     Locations                        ~._.'~ $~i~~r~                   '....~             Identizicatlan~



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       Date                               ~ Evrr~nnE
 t                                        -
 '; 1d1f't9~t7                            ~ lr~sfi~ution ~stablisi~ecl: t~rigin~} name.New Home Fed~r~i Savings and Ln~n Ass~ci~tiran
                                             {299513)
       7t31•!~ 976                              Acquired N€~ar Home Savings and Loan Associa#ion 31X21 in Ft~ADiNG, PA
       8!311198`1                               Acquired F rsf Federal Savings and Loan Association 30274 in ALL~NTOWN, PA
       1/3111984                         ~ Acquired First Federal Savings and loan Association                                                                                       ?4          in LAN~AS~'~}~, ~A
       2129i1~84                                Changed organization t}rpe to MUTUAL SAVINGS BANK
       2i29/~ 98~t , r. Changed name to P~t~n Savings Bank FSl~ ?9 5
     _,..,..._...................... ............... ............_..._..._...,....._....._.......~_.........._..._...........__..._.............._....._......_................. __._..._....__. _..._........_..........._._................_w........._....~__ ____._.._....;
       12131/9886 ~ Changed rstganiz~#ion type fa STOCK SAVINGS BANK
                                                          Nassau Federal Savings and La~n~Associ~tion ~{3 2} in PRINCETtJN, NJ
 { 8tZ3t1~9~
  ...                                     ,~...,~cqui►-ed                                                                                         T~
      9/6i~ 991                          ;Acquired United Savings and Login Assoaiatican of Tren#on, F.A. 3 083 in TRENTON,          NJ
                                                                                                                          ..__......_....._......_,,.~..f
       12/31/1J9~                        3 Changed name to Sovereign ink, A F~tter~al Saving F~an+c ~                                                                                                         w
 i ~ 2/31/'! 891                         ~ Acquirxed Yardley Bank far Sauings, F58 (~~4) in YARQLEY, F'A
       9/y ~M992                                Acquired ,f~rs~y Share Savings and Loin Associakinn (30236) in TC7NiS RIVER, N.J
      1/16f1993                                 Acqut~°ed Ha~'r°nr~ni~ Savings Bank .4661. in El.lZABETN, NJ
                                         i Acquired Flame Unity F~d~!ral Savings end C.aan Assc~ avian ' 3~ r in LA~AY~T7E HI~.~.,
       8/27f'1933                                                                                                                                                                                                                                                            t
 1                                       ~ PA as part rrf a govemmernt assisted trans~~tian.
      19!619993                          ~ Acquired 1(~I(ey Feder~i S~+rings and Loan :?t~soci~ztiort (~.~7 in E,~aT~3N,.PA                                                                                                                                                 i
       815119                            ~ Ac,~{uired St~~dawr Lawry a~rin~s Bank, Sim {~3„~2_) in LC7NG SC=~P,NCt~, h#J                                                                                                                                                     C
      10131119°4                         I Acquired Charter Federal Saviru, Bank ~Ofi53 in F2AtJCJt7~.f'H T{~WC~ ~tIP, NJ
                                         3_..
 j ~13'~/1996                            ~ Aec~uired V~~st,~:rse~r G~smmu~tlty Bank ~~) ~n FAIRFi~LD, htJ                                                                                                                                                                    i
 ~ 12f2~11996                                   Changed name fio ~over~i~n B~n~c ` 47~~)                                                                                                                                                                                     r
      2/1911997                                 Acquired first C3~witk Bank 3Qi9$ in 1N~ST C,4i:.1~W~~.L, NJ
 I X131/1997                           .a ._Acquired Sav+~rei~n ~ommunity_Bank (~>7~}_in FRE~HCJ~D.'._N'~...__.~....___.~_.~__~....._...:.____..._.~,.._
 s 8/3019 97                                    Acgtair~d ~anker5 Savings ,(1~,~20,~,29} in PERTM AMBUY, NJ
         Case 23-20642                                    Doc 22                        Filed 10/17/23                                      Entered 10/17/23 16:01:18                                                                    Page 45 of 46




               Dam                              ~ ~ven~

              3/1/1998                    1 Acquired Main Line Bank (29~~8~J in VILLRNOVA, PA
            _ R_.~__~_..~.,.._...__..~.._._...~...~._...._.._..._....._..._._.__..~.__......_...._.M._.~..__,~.._...__.,...._._.__...m........,_.w_.w.___.__.._..,......~.....,,._..,....~...4                                                    ___.._.___._...._.
              7/31/1898                   ~ Acquired Firs# Home Savings Bank, F,S.B. ~`i~ 779? in PENNSVII.L.~, IVJ                                                                                                                                                j
          s 713111998                            j Acquired Carnegie Bank,                                            NatiAnal Association 271 4 in LANGNfJRN~, PA
          ~..     _..._._r. .._.,.._.~E_._.._...._._                                       _. ._. .__                    .......:.~_.~_. ...                     _..___.._.... ..__..._......._.._......_..._.._.._.,_._......_._._.._.._._......_..._~_____.~
                                                      ~    ~ange            trust        powers            frotr►       TRU57               Pt~tN~FtB              NC3T GRANTED fa FULL TRUST POWERS
               613411999                         ~
          I                                      ~ GRANT~~
                                                     ----....__.._.._._._._..__... __..,~._....._._..____...___._._._-.---. _.._.__._~.._.__._.__.._.__..----..._.~_.. _. __ _.._.                                                                                          M..
               fil30/19'd9                       ~ Acquired. Trenton Savings Bank                                                     F5B (1.~~1 in L.AVVRENCEVILL~. (VJ
            ..........~_..~ v....~.._......_. _                                                                         ............................,......     ..~....._..~...~_,._._...~~......._.._.............,..._....w_.~_.~.._.~._...~._..___.~.._,
               3l8J2fl02                         ! ~ Acquired Main 5tr~et Bank ~,~,~,}                                      27                 in R~AiJING, PA
           _........._......_._._....._._._....__r................_.._._...~......_...._..._._. ....._._..,..._..,........_...w......_.....,_._....._._........__.._..........._._._......~._..__.~..__....,._.,......., ........,........_...._._......_,..._.,...._~..,~__.
          i 5/312Q02                             j Acquired Sa~ereign Trust Company {33208) in MANCHES"~ER TOWNSHIP, NJ                                                                                                                                                      v'
             ... 20a4... . .~ a Acquired First Essex Bank (9Cf219} in LA~IVRENCE, ft~A
           y216/                                                                                                                                                                                                                                                       i
                             ,..~...          _............._e...,,.~......._..~..-....:....,,~W,._...~_..~,.....m._.,.M.~...........~,~,........._~.,,.._..w                                                            ._..~~.~,..,.~..,,r. -                      ~.:
          ~ 7123/2t7t?4         ~ Acquired IVantucicet Bank (?~2D55,} in NAtdTUCf~E'T, MA
              7/23t20{b4                        ~ Ar~quir~d Compass ~3ank for Savings 23291 in NE11ti/ ~ C7Ft~RD. MA
                2f91/2005                          f Acquired Waypoint Sank { 174) in HAF2RISBEJRG, PA
            ......._..~__...._....,.. ...._......__......_.........__..._..._......................._.~.._._.._~.___.._~.._...__..._._......_..._--___...__......._._..~....___...w_.._...__W.._...............__._..__.__                       ~...___..__._:
~               9/9~ ~B'"~~ Acquir~ci Independence CamrRunity....................                                                          Bank _{16018a in BROC?KLYN, NY
    ~S    t                   ..___...._..._...`  i -._.._...___..._.........._......_......._.........._.........._......,.._ ..._......_          ................_........__.......~._......_._.............._._.........._...__..___.__.....~~...___......~..._,
                6/20!2011                          s Moved bank headquart~rr from WYOMISSIIVG, PA to WILMENGTdN, QE

          j 7l2~ /2011                      . ' _ ~hangerl primary regulatory agency from OFFICE O~ THRIFT SUPERVISION to
          i                                   ~ CdMPTRULL~~; (~F THE CURRENCY
              1/26!2012                        r Changed organ3za#ion type t~ CfJMMERCIRL, E3ANK
               9 t26l2012                       ~. Changed nar~n~ to Sav~weign F3anic, National ~4 ociatian 299511
              9/26/20'!2                   z C~iar~g~ed institution class to INSUF2~I~ COMMERCIAL BANK. NAT10~1AL, IViEMBER FR5
           _.._.~..........._..._.._.._,._.._..._.~.. ......._.w ............._.,.~..~.......,..,.....~._.......w_._..,_....._.,........ .........._.,.~.. _. ......._._.._.._........_..._..._. ....~,.~.._, .......................__..._._~.
              NGme ~ Co~tac~ t1s J Search C Heip ~ Sit~Mep ~ dorms J En ~panpi
               Websit~ Pciicies ~ C'rivacy Policy ~ Plain Wr(tin~ Rct of 20'i t} ~ USA.gov (CDiC Once ~f Inspector General
              Fraetlatn of infc~rmatirar Act (FC71~} uervire t;`entar 3 FDlC Open t~ovamment Webpape i hio FEAR Act L3aYa
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           ~InstatutionHistory                                                                                                ~'age~ 1 af'1



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           10 lr~titu~lca~ history r   rd{~) ~,und.                                                 e t~r~vkv~ ~'~zt~ 1 S             ~IEXt>

            Owe                                                                                                                                 x
                                         C~ NEW Ht'~M~'~D~f~1.ShV(N.CC.S ~ L4A~V ~lSSOt~A'1"It~i~ irr tadpit SOU P~h1:
            1902-0i-01 VVY'~3M1581NlN1~Qh~~~ING, PA;w~s e~tabl{shed ~ a Sav3ng3 8~ t,oar► Assa~(a~an.
                           ,AV~~ILI,~,,
                           ~W1'C7N~ISSi~tt~ Y~t+1(`t~Elfu~t~   ]~FEA~ ~A:~ltfi~t~ 8i~tf1AN ~Cf~1'TtO~t v~:s r              r E to MEIN
            196 -11-Q8 HOME FED~E~,L EAYI~IG'& '+& LOAN AS50CtATt~hi.
                            N~iN NCiME F'EQERJ~L. ~AVIPIGS ~.~C3Af~t,45SOCIAI`IClN w~s~r~►tatrae~ ~o PENN SAViNt~S
            1994-01-01 e                                  1~om 5avirs~ & Laan /:4~o~tatian to Federal ~Wrtg~ Bank.
                             At~lt,. ~~ and c
                       .. ~NN,~AVtNt~~~~Ah1K,1~S~ i
            ~ ...6,~2-{~1.                                         d to~0`~EN~V A1f.E'1~UY'U~1S3~Ei~Q, P'A.
            19~8.Of ~      P~NIV   5#~V1NC~513A  N4C,   ASS    avid!  fid 1S3EI BERK HI~~ BLV.t~        YVYQMf~tNG. P1~.
                                                                                                   ._---
          . 1~St~#:2-31 P~hIN.;;ltV~NGS.13RhI1~; F~8 was r               if~errt is  SCi.UEREIQt~ BANi~;FS~.
            1998-i ~~3 SC1V~I~~I~N H~CNK,F"~B w re~trr~d to ~A17EAEI~tV~ 8~1fJ1~,:
            201#-06-~.SOVEF'#El~N ~}ACdKr v~ta,82~ Nt~t~7F~! N1AFiitE1'S'{        .. ..       'Ff~~T,'~UfT~~'f00 W1~..I~11~1GrTON, ~~;,.~.. .
                            SC711ERElC~tiBAIJKw r~3               try       V~REiG~BANF     F,NAT}C1i~164 L.A5S~1~1A'~3C~+3 i
            ~Qf~-0'I~~~ el pa~ ~rorn ~deral5~vii Bank tb t~'alloneC ~Ii.
                           S011EREIftN 81uVK, N~`~i('~id~L AS~UUGIATti7N v~t~ r~at~d fia SAfi~'C~N[1~R ~4t~4Kf                    ~~
            2A'#~-10-17 1AT~ONAI'. Jt35C7C1ATI0Al.
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             :..               :5..        .                           .           ..       ..:
